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               IN THE UNITED STATES DISTRICT COURT
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             FOR THE CENTRAL DISTRICT OF CALIFORNIA
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12                                                 Case No.: 2:18-cr-00759-CJC
     UNITED STATES OF AMERICA,
13                                                 ORDER DENYING APPLICATION
                       Plaintiff,                  FOR REVIEW/
14                                                 RECONSIDERATION OF ORDER
                  v.                               SETTING CONDITIONS OF
15                                                 RELEASE/DETENTION
     TYLER LAUBE,                                  (ECF NO. 63)
16
                       Defendant.
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18                                            I.
19         On October 24, 2018, Defendant Tyler Laube (“Defendant”) made his initial
20   appearance in this district on the Complaint filed in this matter, Case No. 2:18-MJ-
21   02791-3. The Court appointed Jerome Haig, a member of the Indigent Defense
22   Panel, to represent Defendant.
23         The Court made a detention determination based on motion by the
24   Government in a case involving a serious risk that Defendant would flee. The
25   Court concluded that the Government was not entitled to a rebuttable presumption
26   that no condition or combination of conditions reasonably would assure the
27   Defendant’s appearance as required and the safety of any person or the community
28   [18 U.S.C. § 3142(e)(2)].
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1          The Court found that no condition or combination of conditions reasonably
2    would assure the appearance of the Defendant as required at future proceedings.
3    The Court based its conclusion regarding the risk of Defendant’s non-appearance
4    on the following factors:
5              Defendant’s failure to provide information to Pretrial Services
6              Defendant’s limited bail resources
7              Defendant’s current probation status
8              Defendant’s limited economic ties to the community
9              Defendant’s lack of truthfulness to Pretrial Services regarding his
10                residence
11             Defendant’s criminal history, including disobeying prior court order
12             Defendant’s admitted violent altercation in the Huntington Beach
13                incident
14             Defendant’s association with a violent White Supremacist
15                organization
16         Based on the foregoing, the Court ordered Defendant committed to the
17   custody of the Attorney General pending trial.
18
19                                            II.
20         On November 14, 2018, Defendant applied for reconsideration of the
21   Court’s October 25, 2018 detention order and requested a hearing. The application
22   was based on the following facts not previously considered by the court: a proffer
23   of seven affidavits of surety, each in the amount of $25,000.00 for a total of
24   $175,000.00, to be signed by the following persons:
25             Steven Flores – Defendant’s step-father
26             Sharon Hudson – Defendant’s grandmother
27             Sharon Dyer – Defendant’s former boss
28             Renee Laube – Defendant’s mother

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1              Christina Harris – Defendant’s friend
2              Branden Homan – Defendant’s friend
3              Madison Decker – Defendant’s girlfriend
4          The Court held a hearing on November 20, 2018. Defendant was
5    represented by his counsel, Jerome Haig. In addition to the seven affidavits of
6    surety, Defendant proffered at the hearing the entering of his guilty plea as a
7    further basis for reconsideration of the Court’s October 25, 2018 detention order.
8          The Court finds that there exists no condition or combination of conditions
9    that reasonably will assure the appearance of the Defendant as required at future
10   proceedings. The Court based its conclusion regarding the risk of Defendant’s
11   non-appearance on the following factors:
12             Defendant’s guilty plea itself creates a strong temptation for
13                Defendant to flee to avoid his imminent incarceration;
14             Defendant’s admitted violent altercation in the charged Huntington
15                Beach incident and participation in a conspiracy, all of which
16                occurred while Defendant was on probation;
17             Defendant’s post-arrest refusal to cooperate with authorities by
18                refusing to provide information to Pretrial Services;
19             Defendant’s earlier untruthfulness to Pretrial Services regarding his
20                residence;
21             Defendant’s current probation status;
22             Defendant’s limited economic ties to the community;
23             Defendant’s criminal history, including disobeying prior court order;
24             Defendant’s association with a violent White Supremacist
25                organization;
26             The lack of information regarding five of the seven proffered
27                affidavits of surety (Sharon Hudson, Sharon Dyer, Christina Harris,
28                Branden Homan, Madison Decker), including the net worth of those

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1                 affiants, their current earnings, and their understanding of the meaning
2                 of acting as a surety, such that the Court was unable to determine their
3                 adequacy, individually or in combination, to reasonably assure the
4                 appearance of the Defendant as required at future proceedings; and
5              The insufficiency of the two remaining affidavits of Steven Flores and
6                 Renee Laube, totaling $50,000.00, to reasonably assure the
7                 appearance of the Defendant as required at future proceedings.
8          In light of the above determination, the Court finds no need to reach the
9    question whether there exists a condition or combination of conditions that
10   reasonably would assure the safety of the community.
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12                                            III.
13         In reaching its decision, the Court has considered: (a) the nature and
14   circumstances of the offense(s) charged, including whether the offense is a crime
15   of violence, a Federal crime of terrorism, or involves a minor victim or a controlled
16   substance, firearm, explosive, or destructive device; (b) the weight of evidence
17   against the defendant; (c) the history and characteristics of the defendant; and
18   (d) the nature and seriousness of the danger to any person or the community. [18
19   U.S.C. § 3142(g)] The Court also considered all the evidence adduced at the
20   hearing and the arguments, the arguments of counsel, and the report and
21   recommendation of the U.S. Pretrial Services Agency.
22
23                                          IV.
24         IT IS THEREFORE ORDERED that (1) the Application for
25   review/reconsideration of order setting conditions of release/detention (ECF No.
26   63) is denied and (2) the defendant remain detained until sentencing in the custody
27   of the Attorney General for confinement in a corrections facility separate, to the
28   extent practicable, from persons awaiting or serving sentences or being held in

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1    custody pending appeal. The defendant will be afforded reasonable opportunity
2    for private consultation with counsel. On order of a Court of the United States or
3    on request of any attorney for the Government, the person in charge of the
4    corrections facility in which defendant is confined will deliver the defendant to a
5    United States Marshal for the purpose of an appearance in connection with a court
6    proceeding. [18 U.S.C. § 3142(i)]
7
8    Dated: November 20, 2018               _____/s/_______________________
9                                           HON. MARIA A. AUDERO
                                            UNITED STATES MAGISTRATE JUDGE
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